                                  United States District Court
                                      Office of the Clerk
                                           PO Box 25670
                                          Raleigh, NC 27611                       Peter A. Moore, Jr.
Phone (919) 645-1700
Fax (919) 645-1750                                                                    Clerk of Court



                                           October 31, 2017


Via Electronic Mail
Mr. Robert J. Higdon, Jr.
United States Attorney
United States Attorney's Office
310 New Bern Avenue, Suite 800
Raleigh, NC 27601

                                 Re: Smith v. Holland
                                     5:17-HC-2032-FL

Dear Mr. Higdon:

   The following documents have been forwarded to your office by electronic notification:

             1.    Order directing clerk to continue management of the case.
             2.    Application for Writ of Habeas Corpus filed on 2/16/17.

    The respondent is allowed twenty one (21) days from the date of service in which to file a
responsive pleading.

                                                        Sincerely,


                                                        /s/ Peter A. Moore, Jr.
                                                        Clerk

Enclosures\

 cc:     Ronald Edward Smith 08400-046
         Butner Low - F.C.I.
         P.O. Box 999
         Butner, NC 27509




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